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                       EXHIBIT 15
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                                             RTP CHART

        As set forth in the Deepwater Horizon Economic and Property Damages Settlement
Agreement, an RTP (risk transfer premium) shall mean the amount paid to a Claimant for any and all
alleged damage, including potential future injuries, damages or losses not currently known, which
may later manifest themselves or develop, arising out of, due to, resulting from, or relating in any
way to the Deepwater Horizon Incident, and any other type or category of damages claimed,
including claims for punitive damages. To the extent that an RTP is to be paid to a Claimant, it shall
be a factor which is multiplied with those Compensation Amounts which the Exhibits to this
Agreement specify are eligible for an RTP to calculate a sum which is added to the Compensation
Amount paid to the Claimant. The following is a summary of the applicable RTPs.

CLAIM TYPE                         RTP
Business Economic Loss Claims         Businesses satisfying the Tourism Definition and located in
                                       Zone A -- RTP is 2.50.
                                      Businesses satisfying the Tourism Definition and located in
                                       Zone B -- RTP is 2.00.
                                      Businesses satisfying the Tourism Definition and located in
                                       Zone C -- RTP is 2.00.
                                      Businesses satisfying the Tourism Definition and located in
                                       Zone D -- RTP is 1.25.

                                      Businesses satisfying the Charter Fishing Definition and located
                                       in Zone A, Zone B or Zone C -- RTP is 2.50.
                                      Businesses satisfying the Charter Fishing Definition and located
                                       in Zone D -- RTP is 1.25.

                                      Businesses satisfying the Primary Seafood Processor Definition
                                       in the Seafood Distribution Chain Definitions who process
                                       Shrimp/Crab/Oyster and are located in Zone A, Zone B, Zone C
                                       or Zone D -- RTP is 3.00.
                                      Businesses satisfying the Primary Seafood Processor Definition
                                       in the Seafood Distribution Chain Definitions who process
                                       Seafood other than Shrimp/Crab/Oyster and are located in
                                       Zone A, Zone B, Zone C or Zone D -- RTP is 2.25.

                                      Businesses satisfying the Landing Site or Commercial
                                       Wholesale or Retail Dealer A Definitions in the Seafood
                                       Distribution Chain Definitions and are located in Zone A, Zone
                                       B, Zone C or Zone D -- RTP is 2.25.


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CLAIM TYPE                        RTP
                                     Businesses satisfying the Commercial Wholesale or Retail
                                      Dealer B, Secondary Seafood Processor, Seafood Wholesaler or
                                      Distributor, or Seafood Retailer Definitions in the Seafood
                                      Distribution Chain Definitions and are located in Zone A, Zone
                                      B, Zone C or Zone D -- RTP is 2.25.

                                    Non-Tourism and Non-Seafood Businesses located in Zone A --
                                     RTP is 1.50.
                                   Non-Tourism and Non-Seafood Businesses located in Zone B --
                                     RTP is 1.25.
                                   Non-Tourism and Non-Seafood Businesses located in Zone C --
                                     RTP is 0.25.
                                   Non-Tourism and Non-Seafood Businesses located in Zone D --
                                     RTP is 0.25.
Start-up Business Claims          RTPs are the same as for Business Economic Loss Claims.

Failed Business Claims            No RTP.

Failed Start-up Business Claims   No RTP.

Multi-Facility Business           The RTP is determined per Business Economic Loss Claims as
                                  applied through the Compensation for Multi-Facility Businesses
                                  framework.
Individual Economic Loss Claims

Category I, II & III Claimants    The presumption is that the RTP shall be determined by the
                                  industry of the Individual’s employer and the Zone in which the
                                  Individual’s employer is located. However, a Claimant may
                                  establish an alternative Zone to be used for the RTP by
                                  demonstrating that primary employment activities and
                                  responsibilities were performed in a location different from the
                                  employer’s business address and the claimed DWH spill-related
                                  economic loss occurred in that location.

                                     Employed by business satisfying the Tourism Definition and
                                      located in Zone A -- RTP is 2.50.
                                     Employed by business satisfying the Tourism Definition and
                                      located in Zone B -- RTP is 2.00.



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CLAIM TYPE                RTP
                             Employed by business satisfying the Tourism Definition and
                              located in Zone C -- RTP is 2.00.
                             Employed by business satisfying the Tourism Definition and
                              located in Zone D -- RTP is 1.25.

                             Employed by business satisfying the Charter Fishing Definition
                              and located in Zone A, Zone B or Zone C -- RTP is 2.50.
                             Employed by business satisfying the Charter Fishing Definition
                              and located in Zone D -- RTP is 1.25.

                             Employed by business satisfying the Primary Seafood Processor
                              Definition in the Seafood Distribution Chain Definitions who
                              processes Shrimp/Crab/Oyster and is located in Zone A, Zone
                              B, Zone C or Zone D -- RTP is 3.00.
                             Employed by business satisfying the Primary Seafood Processor
                              Definition in the Seafood Distribution Chain Definitions who
                              processes Seafood other than Shrimp/Crab/Oyster and is
                              located in Zone A, Zone B, Zone C or Zone D -- RTP is 2.25.

                             Employed by business satisfying the Landing Site or
                              Commercial Wholesale or Retail Dealer A Definitions in the
                              Seafood Distribution Chain Definitions and is located in Zone A,
                              Zone B, Zone C or Zone D -- RTP is 2.25.

                             Employed by business satisfying the Commercial Wholesale or
                              Retail Dealer B, Secondary Seafood Processor, Seafood
                              Wholesaler or Distributor, or Seafood Retailer Definitions in
                              the Seafood Distribution Chain Definitions and is located in
                              Zone A, Zone B, Zone C or Zone D -- RTP is 2.25.

                             Employed by Non-Tourism and Non-Seafood Business in Zone
                              A -- RTP is 1.50.
                             Employed by Non-Tourism and Non-Seafood Business in Zone
                              B -- RTP is 1.25.
                             Employed by Non-Tourism and Non-Seafood Business in Zone
                              C -- RTP is 0.25.
                             Employed by Non-Tourism and Non-Seafood Business in Zone
                              D -- RTP is 0.25.

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CLAIM TYPE                      RTP
Category IV Claimants           Only Claimants who, in 2011, (1) continued to be employed in a
                                position the same as, or similar to, the Claiming Job, and (2) still
                                lived within 60 miles of their place of employment, receive an RTP
                                of 1.
Individual Periodic Vendors     RTP is 1.


Festival Vendors                   For Festival Vendor with documentation establishing loss of
                                    earnings from festivals -- RTP is 1.
                                 For Festival Vendor without sufficient documentation of
                                    earnings from festival sales who relies on Festival Coordinator
                                    Sworn Statements -- No RTP.
Seafood Program Claims          RTPs in respect of Seafood Program Claims are set forth elsewhere
                                in the Settlement Agreement.
Subsistence Claims              RTP is 2.25.

VoO Charter Payment             No RTP.


Vessel Physical Damage          No RTP.


Coastal Real Property Claims    An RTP of 2.50 is applied to the Coastal Real Property
                                Compensation Amount. No RTP for physical damage
                                compensation.
Wetlands Real Property Claims   An RTP of 2.50 is applied to the Wetlands Real Property
                                Compensation Amount. No RTP for physical damage
                                compensation.
Real Property Sales             No RTP.




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